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FILED IN OPEN COURT
U.S.D.C. Atlanta

OCT 12 2021

By -pVeimer, Clerk
Deputy Clerk

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA

v. Criminal Indictment
SAMUEL BARRERA-ANDRADE, No, .
a/k/a“Sam,” 1 21-CR-401

UNDER SEAL

 

 

THE GRAND JURY CHARGES THAT:

Count One
Beginning on a date unknown to the Grand Jury, but at least as of in or about
January 2017, and continuing thereafter up to and including on or about October

7, 2020, in the Northern District of Georgia, and elsewhere, the defendants,

- SAMUEL BARRERA-ANDRADE,
a/k/a “Sam,”

 

did knowingly and willfully combine, conspire, confederate, agree, and have a
tacit understanding with one another, and other persons known and unknown to
the Grand Jury, to violate Title 21, United States Code, Section 841(a)(1), that is,
to knowingly and intentionally possess with the intent to distribute a controlled

substance;

 
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a) said conspiracy involving at least 5 kilograms of a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance;
and at least 500 grams of a mixture and substance containing a detectable
amount of methamphetamine, a Schedule II controlled substance, pursuant to
Title 21, United States Code, Section 841(b)(1)(A), as to defendants SAMUEL
BARRERA-ANDRADE and yyy

b) said conspiracy involving at least 5 kilograms of a mixture and substance
containing a detectable amount of cocaine, a Schedule IT controlled substance,
pursuant to Title 21, United States Code, Section 841(b)(1)(A), as to defendant

All in violation of Title 21, United States Code, Section 846.

Count Two
On or about October 15, 2019, in the Northern District of Georgia, and

elsewhere, the defendant,

 

and others known and unknown to the Grand Jury, aided and abetted by one
another, did knowingly and intentionally possess with the intent to distribute a
controlled substance, said act involving at least 5 kilograms of a mixture and
substance containing a detectable amount of cocaine, a Schedule II controlled.
substance, pursuant to Title 21, United States Code, Section 841(b)(1)(A), all in
violation of Title 21, United States Code, Section 841(a)(1), and Title 18, United.

States Code, Section 2.

 
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Count Three
On or about September 3, 2020, in the Northern District of Georgia, and

elsewhere, the defendants,

SAMUEL BARRERA-ANDRADE,
‘a/k/a “Sam,” and

   

and others known and unknown to the Grand Jury, aided and abetted by one
another, did knowingly and intentionally possess with the intent to distribute a
controlled substance, said act involving at least 500 grams of a mixture and
substance containing a detectable amount of methamphetamine, a Schedule I]
controlled substance, pursuant to Title 21, United States Code, Section
841(b)(1)(A), all in violation of Title 21, United States Code, Section 841(a)(1), and

Title 18, United States Code, Section 2.

Count Four
Beginning on a date unknown to the Grand Jury, but at least as of in or about
January 2017, and continuing thereafter wp to and including on or about October

7, 2020, in the Northern District of Georgia, and elsewhere, the defendants,

SAMUEL BARRERA-ANDRADE,
a/k/a“Sam,”

   

 
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did knowingly combine, conspire, confederate, agree and have tacit
understanding with one another, and other persons known and unknown to the
Grand Jury, to commit certain offenses under Title 18, United States Code,
Section 1956, that is, to knowingly:

a) transport, transmit, and transfer, and attempt to transport, transmit, and
transfer funds and a monetary instrument, that is, United States currency,
from a place in the United States to and through a place outside the United
States, that is, Mexico, with the intent to promote the carrying on of
specified unlawful activity, that is, the felonious buying, selling and
otherwise dealing in a controlled substance punishable under a law of the
United States, in violation of Title 18, United States Code, Section
1956(a)(2)(A); and

b) transport, transmit, and transfer, and attempt to transport, transmit, and
transfer funds and a monetary instrument, that is, United States currency,
which was proceeds of specified unlawful activity, that is, the felonious
importation, buying, selling and otherwise dealing in a controlled
substance punishable under a law of the United States, from a place in the
United States to and through a place outside the United States, that is,
Mexico, and that while conducting and attempting to conduct such
financial transaction, knew that the property involved in the financial
transaction represented the proceeds of some form of unlawful activity,
and knowing that such transportation, transmission and transfer was

designed in whole and in part,

 
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(1) to conceal and disguise the nature, location, source, ownership,
and control of proceeds of said unlawful activity, and
(2) to avoid a transaction reporting requirement under Federal law,
in violation of Title 18, United States Code, Sections 1956(a)(2)(B)(i) and (ii);
All in violation of Title 18, United States Code, Section 1956(h).

Forfeiture Provision

Upon conviction of one or more of the offenses alleged in Counts One

through Three of this Indictment, the defendants,

SAMUEL BARRERA-ANDRADE,
a/k/a “Sam,”

 

shall forfeit to the United States, pursuant to Title 21, United States Code, Section
853(a), all property constituting, or derived from, any proceeds obtained, directly
or indirectly, as a result of such offenses and any property used, or intended to
be used, in any manner or part, to commit, or to facilitate the commission of the
‘violations, including, but not limited to, the following:
a. MONEY JUDGMENT: A sum of money in United States currency equal
.to the amount of proceeds the defendant obtained as a result of the

offenses alleged in Counts One through Three of this Indictment.

 
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Upon conviction of the offense alleged in Count Four of this Indictment, the

defendants,

SAMUEL BARRERA-ANDRADE,
a/k/a “Sam,”

 

shall forfeit to the United States, pursuant to Title 18, United States Code, Section
982(a)(1), any and all property, real or personal, involved in such offense and all
property traceable to such offense, including, but not limited to, the following:
a. MONEY JUDGMENT: A sum of money in United States currency equal
to the amount of proceeds the defendant obtained as a result of the
offense for which the defendant is convicted.

If, as a result of any act or omission of the defendant, any property subject to

forfeiture:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e has been commingled with other property which cannot be
subdivided without difficulty;
the United States intends, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c) and Title

 
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18, United States Code, Section 982(b)(1), to seek forfeiture of any other property

of said defendant up to the value of the forfeitable property described above.

A FA BILL

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FOREPERSON

 

KURT R. ERSKINE
Acting United States Attorney

Ce"

NICHOLAS HARTIGAN
Assistant United States Attorney

Georgia Bar No. 408147

600 U.S. Courthouse

75 Ted Turner Drive, S.W.
Atlanta, GA 30303
404-581-6014; Fax: 404-581-6181

 
